Case: 1:21-cv-05104 Document #: 70-1 Filed: 07/24/23 Page 1 of 3 PageID #:573




                         EXHIBIT A
       Case: 1:21-cv-05104 Document #: 70-1 Filed: 07/24/23 Page 2 of 3 PageID #:574

RECORDS UNIT




                                                                                                                  *0101*
1001 VANDALAY DRIVE
FRANKFORT, KY 40601




CHARLES STROW
2243 MCGREGOR PLACE
CINCINNATI, KY 45219




           Administrative Office of the Courts
           COURTNET Criminal History Record

AOC COURTNET DISPOSITION SYSTEM DISCLAIMER

Enclosed is a copy of information on cases you have had in Kentucky Courts. This COURTNET Disposition
System record is being provided for your information. This request is generally made for government
housing, pre-employment searches, childcare workers, adoptions, or other purposes.

This request was made by BRAUNHAGEY & BORDEN LLP and they have received a copy of this
information. If you believe it contains any errors, or you have any questions, please feel free to contact us
at (502) 573-1682 or (800) 928-6381

The Administrative Office of the Courts (AOC) CANNOT GUARANTEE the accuracy of the attached
information. If you believe there is an error contained in the record please contact Records Unit at (502)
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Information received from COURTNET is subject to change, reprogramming, modifications of format and
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BATCH ID: 0003858054                           MAILING 1 OF 1                       REQUEST ID: 55748225




*0101*                                                                                              Page 1 of 2
        Case: 1:21-cv-05104 Document #: 70-1 Filed: 07/24/23 Page 3 ofREQUEST
BATCH ID: 0003858054
                                                                       3 PageIDID:
                                                                                #:575
                                                                                   55748225
                             Request Information Provided
Name: STROW, CHARLES
DOB:  9/21/1981                          DLN: n/s
           All Information Provided Above Has Been Used To Fulfill Your Request
                               On 05/08/2023 08:32 AM
                     YOUR REQUEST IS POTENTIALLY INCOMPLETE FOR THE REASON(S)
                                        Incomplete/No SSN
                                 ***** NOT AN OFFICIAL COURT RECORD *****
                     RECORDS UNIT | 1001 VANDALAY DRIVE | FRANKFORT, KY 40601 | (800) 928-6381


 Name: STROW, CHARLES               DOB: 09/21/1981           Gender: M    Race: W

 Case Filed on 10/02/2018 in BOONE County as case number 18-F-01045

  Bail of CASH for the amount of $164.00 was set on 05/13/2019 and posted on n/a



  Active Warrant of BENCH WARRANT on 05/13/2019


  Charge 1 Original Filed on 08/15/2018             0239190   *OBS* TBUT ALL OTHERS $10,000 OR MORE
                                                              BUT U/$1,000,000
        Disposed on 02/14/2019 as AMENDED

  Charge 1 Amended Filed on 02/14/2019        0239150 *OBS* TBUT OR DISP ALL OTHERS U/$500
       Disposed on 02/14/2019 as GUILTY
      Sentenced on 02/14/2019           STAY OFF OF ZIMMER PROPERTY
                                        NO OTHER OFFENSESCD 2 YRS
  Jail Assessed                           365 DYS      Cost                $164.00
  Jail Conditional                        365 DYS




                                                                                                      Page 2 of 2
